          Case 1:02-cr-00154-CG-D                      Doc# 90      Filed 03/26/08         Page 1 of 1             PageID# 107
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District
                                                      __________  District of
                                                                           of __________
                                                                              Alabama

                    United States of America                          )
                               v.                                     )
                       McAuthor Rabb, Jr.                             )   Case No: 02-00154-001-CG
                                                                      )   USM No: 08213-003
Date of Previous Judgment:                     01/27/2003             )   Pro Se for purposes of this motion
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. ✔  ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 140 months    months is reduced to 112 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                              31
Criminal History Category: IV                Criminal History Category:                                          IV
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                            151      to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
✔ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
’
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
     The United States has clarified that the Rule 35 motion filed herein was pursuant to 18 USC 3553(e), and permits
     a sentence below the statutory minimum. In determining that a reduced sentence is appropriate in this case, the
     court has considered the applicable factors of 18 U.S.C. Section 3553(a), the danger to the community in reducing
     the defendant's sentence, and the defendant's post-conviction conduct as reported by the Bureau of Prisons.

Except as provided above, all provisions of the judgment dated               01/27/2003      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 03/26/2008                                                  s/Callie V. S. Granade
                                                                                                   Judge’s signature


Effective Date:                                                                       Chief United States District Judge
                     (if different from order date)                                              Printed name and title




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